Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 1 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 2 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 3 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 4 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 5 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 6 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 7 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 8 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document      Page 9 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document     Page 10 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document     Page 11 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document     Page 12 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document     Page 13 of 14
Case 22-52950-pmb   Doc 93    Filed 06/24/22 Entered 06/24/22 10:38:36   Desc Main
                             Document     Page 14 of 14
